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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS


Milwaukee Electric Tool Corporation,                  )
                                                      )
                       Plaintiff,                     )
                                                      )   Civil Action No. 23-cv-04555
        v.                                            )
                                                      )   Juddge: Hon. Martha M. Pacold
The Individuals, Corporations, Limited Liability      )
Companies, Partnerships, and Unincorporated           )   Magistrate Judge: Hon. Heather K.
Associations Identified on Schedule A Hereto,         )   McShain
                                                      )
                       Defendants.                    )
                                                      )
                                                      )


                      MOTION TO VACATE DEFAULT JUDGMENT

       Pursuant to F.R.C.P. Rules 55(c) and 60(b), Defendant, Geelink US (hereinafter

“Defendant”), hereby moves this Court to vacate the default judgment entered against it on April

23, 2024 (Dkt. #156) because the Defendant received its first actual notice of the present action

on or about April 28, 2024 and retained the undersigned to file this Motion today, May 9, 2024.

       Under Rule Rule 55(c) SETTING ASIDE A DEFAULT OR A DEFAULT JUDGMENT. “The court

may set aside an entry of default for good cause, and it may set aside a final default judgment

under Rule 60(b).” The Court must set aside the default judgment in this case because Defendant

only got actual notice after the default judgment was entered against it in this case. In addition,

Plaintiff presented no evidence of infringement against Defendant which has the right to be

notified and to heard before a judgment is entered gainst it.

       Rule 60(b)(1) also states that “… the court may relieve a party or its legal representative

from a final judgment, order, or proceeding for the following reasons: (1) mistake, inadvertence,

surprise, or excusable neglect;…” In this case, Defendant did not have actual notification of the



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present action on April 28, 2024. Therefore, the default judgment against Defendant must be

vacated.




                                                 Respectfully submitted,

Dated: May 9, 2024                               /s/ Lance Liu
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